Case 5:19-cv-00426-PA-MAA Document1 Filed 03/08/19 Page 1 of 21 -PagetD+32—_——_
FILED
CLERK, U.S. DISTRICT COURT

 

 

 

 

 

 

 

MAR - 8 2019
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TULLN E CENTRAL DISTRICT OF CALIFORNIA
BY: RS DEPUTY

 

 

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COMMITTED NAME (if different)

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FULL ADDRESS INCLUDING NAME OF INSTITUTION

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PRISON NUMBER (if applicable) *

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASENUMBER §5:49-CV-00426-PA-MAA

 

 

 

 

STE pita William Rines
To be supplied by the Clerk
PLAINTIFF,
2 SOC v. e CIVIL RIGHTS COMPLAINT
Rive S06 Cousty TANS PURSUANT TO (Check one)

SHERIFF'S , MERICALD ocTezs AND | p42 US.C. § 1983
DEFENDANT(S). | > Bivens v. Six Unknown Agents 403 U.S. 388 (1971)

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A. PREVIOUS LAWSUITS
1. Have you brought any other lawsuits in a federal court while a prisoner: LJ Yes Ano
‘ 2. If your answer to “1.” is yes, how many?
uits on an

Describe the Jawsuit in the space below. (If there is more than one lawsuit, describe the additional laws

attached piece of paper using the same outline.)

CIVIL RIGHTS COMPLAINT
Page | of 64

CV-66 (7/97)
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a. Parties to this previous lawsuit: f

Plaintiff
i
Defendants /
fi
b. Court Z
{7
f

c. Docket or case number

 

 

- j
d, Name of judge to whom case was assigned Lt

-

e. Disposition (For example: Was the case ee so, what was the basis for dismissal? Was it

appealed? Is it still pending?)

 

f. Issues raised: i

L
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g. Approximate date of filing lawsuit: /

h. Approximate date of disposition

 

B. EXHAUSTION OF ADMINISTRATIVE REMEDIES

1. Is there a grievance procedure available at the institution where the events relating to your current complaint
occurred? PKYes CINo

2. Have you filed a grievance concerning the facts relating to your current complaint? ves C1 No

If your answer is no, explain why not

 

 

 

3. Is the grievance procedure completed? yes O No

If your answer is no, explain why not

 

 

4. Please attach copies of papers related to the grievance procedure.

C. JURISDICTION
This complaint alleges that the civil rights of plaintiff STre PHEA\ Ww han RES

(print plaintiff's name)

who presently resides at RivE2ZS:0E CousTy A

(mai

 

were violated by the actions of the defendant(s) named below, which actions were directed against plaintiff at

Riyéryé 82 :9e: County Tans Cos BAup 4 RoBeey Peesleu Dexiraroa

(institution/city where violition occurred)

 

CIVIL RIGHTS COMPLAINT
CV-66 (7/97) Page 2 of BY

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